Case 4:14-cv-04003-LLP Document 170 Filed 07/24/18 Page 1 of 2 PageID #: 1513



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION



                                              *


JAMES 1. DALE,                                *       CIV 14-4003
a/k/a James Irving Dale,                      *
                                              Hs


               Plaintiff,.                    *
                                              *


       vs.                                    *                       ORDER
                                              *

CBM CORRECTIONAL FOOD                         *
SERVICES;                                     *
                                              *


               Defendant.                     *
                                              *




       Pending before the Court is Plaintiffs Motion for Continuance,Doc. 167,in which Plaintiff
requests the Court continue the date scheduled for trial until a date after December 8, 2018. After
consideration ofthe Motion,together with the Plaintiffs supporting Declaration showing good cause,
       rr IS ORDERED:


       1.      That Defendants' Motion for Continuance, Doc. 167, is granted.

       2.      That the final date for submitting Rule 26(a)(3) witness lists, designations of
               witnesses whose testimony will be presented by deposition, and exhibit lists
               shall be fourteen(14)days before the pre-trial conference; and the final date
               for the parties to file objections, if any, under Rule 26(a)(3)is seven(7)days
               before the pre-trial conference.

       3.      All motions in limine, with supporting authority,shall be in writing and filed,
               together with proposed instructions, with supporting authority, with the Court
               fourteen (14) days before the pre-trial conference.

       4.      That all motions not previously disposed of will be heard and a pre-trial
               conference will be held on Monday,Julv 22.2019. at 1:30 P.M. The lawyer
               who will be the lead trial coimsel at trial for each of the parties is to be in
               attendance atthe pre-trial conference unless specifically excused by the Court
               from being in attendance.

       5.      That jury trial will commence in Sioux Falls, South Dakota, on Tuesdav,
               August 20. 2019. with counsel to be present at 9:00 A.M.,for the Court to
Case 4:14-cv-04003-LLP Document 170 Filed 07/24/18 Page 2 of 2 PageID #: 1514



            rule on any previously filed motions in limine that the Court has not ruled
            upon, and with the jury to report at 9:30 A.M.

     6.     That the parties shall promptly contact the Magistrate so that the possibility
            ofsettlement discussion with the assistance ofthe Magistrate can be pursued.

     7.     That the schedule herein may be modified by the Court upon a showing of
            good cause.


     Dated this      day of July, 2018.

                                           BY THE COURT:




                                            awrence L. Piersol
ATTEST:                                    United States District Judge
MATTHEW



            Deputy
